      Case 4:21-cv-01651 Document 56 Filed on 08/31/22 in TXSD Page 1 of 6
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                August 31, 2022
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


JENNIFER HARRIS,                                §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §    CIVIL ACTION NO. 4:21-CV-01651
                                                §
FEDEX CORPORATION,                              §
                                                §
        Defendant.                              §

                                  MEMORANDUM AND ORDER

                                                I.

       Before the Court are the following motions; the plaintiff, Jennifer Harris’ motion for leave

to respond with supplemental evidence [DE 47]; the plaintiff’s motion for leave to amend her

complaint to add Title VII as a claim [DE 42]; the defendant, FedEx Corporation’s opposition to

the plaintiff’s motion to amend [DE 49]; the defendant’s motion for summary judgment [DE 27];

the plaintiff’s response to the defendant’s motion for summary judgment [DE 28]; and, the

defendant’s reply to the plaintiff’s response [DE 43]. After a thorough review of the pending

documents, the Court determines that the plaintiff’s motions [DEs 42 and 47] should be Granted

and the defendant’s motion for summary judgment should be Denied.

                                               II.

       The plaintiff commenced her employment with the defendant in 2007 as an Account

Executive, an entry level inside sales position. Over time, she was promoted to Sales Executive;

Field Sales Account Executive, Field Sales Executive, Inside Sales Manager; Business Sales Field

Manager and finally, District Sales Manager for Field Sales, the position she held when she was

terminated on January 7, 2020.
1/6
      Case 4:21-cv-01651 Document 56 Filed on 08/31/22 in TXSD Page 2 of 6




       As a District Sales Manager, the plaintiff supervised a team with a primary responsibility

for generating revenue and maintaining existing customer accounts. The plaintiff’s performance

was measured, in part, by her team’s success at meeting annual revenue goals that were adjusted

from year-to-year based on the assigned territory’s revenue from the previous year. Thus, “high

performance in one year could have the effect of increasing” [revenue goals] for an impending or

upcoming year.

       Beginning in June 2017, the plaintiff reported to Managing Director, Michelle Lamb. The

plaintiff took advantage of Lamb’s leadership and, in October 2018, began one-on-one meetings

with Lamb that continued throughout the plaintiff’s tenure.         In early 2019, the defendant

introduced a new program called “Coach 2 Grow” designed to improve each sale teams’ sales

performance.

       It appears that Lamb was unsatisfied with the plaintiff’s rollout of the program for her team

and, as a result, “met [frequently] with the plaintiff”. On one occasion, during a meeting about the

plaintiff’s implementation of the new program, Lamb “suggested to the [plaintiff] that she might

want to consider reverting to being an Account Executive, a role in which the [plaintiff] had

excelled previously.”     The plaintiff did not accept Lamb’s suggestion.        Shortly, after that

suggestion on June 26, 2019, Lamb issued a Letter of Counseling to the plaintiff. According to

Lamb, the letter was a result of the plaintiff’s failure to “meet plan 4 out of 4 quarters in FY 19,”

and failure to produce a “performance improvement plan (“PIP”)” or put in place a plan “to

overcome deficiencies.”

       After receiving the Letter of Counseling, Lamb met with the plaintiff to create a plan that

would “resolve the performance issues outlined in the [PIP]”. Apparently, unsatisfied with the

plaintiff’s improvement, Lamb issued a Letter of Warning [September 13, 2019] to the plaintiff

2/6
      Case 4:21-cv-01651 Document 56 Filed on 08/31/22 in TXSD Page 3 of 6




that included a second PIP. At the time, it appears that the plaintiff’s revenue performance was

91.6% of her previous year’s revenue. Lamb desired to make “the second PIP more feasible for

the plaintiff and reduced her goal from 100% to 94.8%, a percentage that, at the time, was 3.2%

above the plaintiff’s then current standing by averaging the performance percentage of the District

Sales Manager.

       After the March 2019, meeting with Lamb, the plaintiff filed several internal complaints,

including allegations of race discrimination [March 2019, June 2019 and December 2019].

According to the defendant, the plaintiff’s complaints were investigated and found to be

unsubstantiated in January 2020. On January 7, 2020, the plaintiff was terminated.

                                                III.

       In its motions for summary judgment and related motions, the defendant asserts that there

is no genuine issue or dispute as to any material fact that defeats the defendant’s entitlement to a

judgment as a matter of law based on the following: (a) the plaintiff’s § 1981 claim is barred by a

contractual six-month limitations period; (b) under the McDonnel Douglas burden-shifting

framework, the plaintiff has not and cannot overcome the defendant’s “legitimate,

nondiscriminatory reason” for her termination based on race; (c) the plaintiff’s retaliation claim

fails because there is no evidence or insufficient evidence of a casual connection between the filing

of the plaintiff’s compliments the issuance of PIPs and the plaintiff’s termination.

                                                IV.

       The Court determines that the plaintiff’s motion to supplement her response evidence [DE

47-4] should be granted. The Court views, the supplement merely as adding substantiation to a

claim and facts already made [race discrimination], and, thereby, explaining the basis for any delay

in filing her lawsuit. That aside, the Court is of the opinion that the defendant’s contractual

3/6
      Case 4:21-cv-01651 Document 56 Filed on 08/31/22 in TXSD Page 4 of 6




limitation of six months within which a civil rights claim may be filed, months on a civil rights

claim, whether a § 1981 or Title VII, fails on at least two bases.

       First, the burden of proof for a § 1981 claim is indistinguishable from the burden of proof

for a Title VII. Therefore, the defendant is not prejudiced by the added basis for the plaintiff’s

claims. As well, the defendant was on notice prior to terminating the plaintiff that she had filed a

formal complaint with the EEOC. See Jones v. Robinson Property Group, LP, 427 F.3d 987, 992

(5th Cir. 2005). Second, the contractual six-month period of limitations within which “any” suit

might be filed against the defendant, cuts against public policy and sidesteps a federal

administrative process designed to meet and defeat long-standing policies of bias and

discrimination in the workplace. See Burnett v. Grattan, 468 U.S. 42, 48 (1984); 28 U.S.C. §

1658; see also Jones vv. R.R. Donnelley & Sons Co., 541 U.S. 369, 383 (2004). Therefore, the

defendant’s claim for summary judgment based on contractual limitations is denied.

       The defendant’s motion for summary judgment based on a lack of discrimination and

retaliation are, likewise, denied. In order to establish a prima facie case of discrimination, a

plaintiff must establish that she belongs to a protected group, was qualified for her position,

suffered an adverse employment action, and a similarly situated employee outside the plaintiff’s

protected group was treated more favorably. Watkins v. Tregre, 997 F.3d 275, 282 (5th Cir. 2021).

With the exception of producing evidence of a causal connection between the adverse employment

action and a plaintiff’s protected activity, the plaintiff’s prima facie burden for a retaliation claim

and an employer’s burden of persuasion are similar. See Texas Dep’t of Cmty. Affairs v. Burdine,

450 U.S. 248, 254 (1981). In both instances, the evidence required may be direct or indirect. See

West v. Nabors Drilling USA, Inc., 330 F.3d 379, 384 n. 3 (5th Cir. 2003). As well, in a retaliation

claim, temporal proximity between an in-house EEO complaint and an adverse employment action

4/6
      Case 4:21-cv-01651 Document 56 Filed on 08/31/22 in TXSD Page 5 of 6




is sufficient, as an inference, to establish a prima facie case of retaliation. See Evans v. City of

Houston, 246 F.3d 344, 354 (5th Cir. 2001).

       In the case at bar, the undisputed evidence overcomes the defendant’s proffered evidence

of a legitimate, nondiscriminatory basis for terminating the plaintiff. Whether the plaintiff initially

asserted that race was a basis for Lamb’s and the defendant’s actions, is not necessary to establish

a claim for racial disparity in treatment between the plaintiff and her white peers. The statistics

relied upon by the defendant to establish the plaintiff’s failing are direct evidence of disparity in

treatment.

       During Lamb’s counseling and/or meetings with the plaintiff, it became clear that the

plaintiff’s 91.6% revenue performance was greater than at least one of her white peers. The

average of 85.1% and 98.42% equals 94.8%. According to the defendant, Lamb averaged the

scores of two District Sales Managers to reach the 94.8% average. A calculation that averages the

scores should be based on the low of 85.01% and the high of 98.42%. It is noted that the average

between the low and the high is 91.715%. By the averaging method, the plaintiff revenue

performance was 0.11% below the average. This calculation also establishes that at least one white

District Sales Manager’s score was 9.79% below the average (91.715) or 14.99% below his/her

expected goal.

       The letter of termination states that the plaintiff’s termination was based solely on her lack

of performance. In fact, the defendant admits that job performance is measured “in part” by

whether a District Sales Manager meets the defendant’s revenue goal. Because the plaintiff’s

termination was based solely on her failure to meet the defendant’s revenue goal, when others not

of her race but in similar positions were not terminated when they did not meet their revenue goals,




5/6
      Case 4:21-cv-01651 Document 56 Filed on 08/31/22 in TXSD Page 6 of 6




raises the inference that race could have been factor in the plaintiff’s termination. Thereafter, the

defendant’s motion for summary judgment is Denied.

       It is so Ordered.

       SIGNED on August 31, 2022, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




6/6
